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 5

 6                            UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEVADA
 7
     In re:                                                   Case No. 24-50132-hlb
 8
                                                              Chapter 7
 9    CAREER COLLEGES, INC.
                                                              SUPPLEMENT TO
10                           Debtor.                          VERIFIED STATEMENT
11

12

13            This supplement is submitted to identify a new connection that Mr. Atkinson has to

14   a person employed in the office of the United States Trustee:

15                    I now have a social connection with the daughter of Mr. Carlos

16                     Hernandez-Vivoni, who happens to be an employee of the Office of the

17                     United States Trustee. As such, I have recently begun to briefly encounter

18                     Mr. Hernandez-Vivoni outside of work, on a social basis only.

19            The above connection does not cause the Firm to hold any interest materially adverse

20   to the interest of the estate.

21                                              # # # # #

22   I declare under penalty of perjury that the foregoing is true and correct.

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24
                                                                 /s/ Robert Atkinson
                                                          Robert E. Atkinson, Esq.
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